Case 1:20-cv-05855-DG-RML                Document 41            Filed 02/14/25   Page 1 of 2 PageID #: 312




  UNITED STATE DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ----------------------------------------------------------X
  ESTEBAN MARQUEZ,                                                     Case No. 20-CV-5855
                            Plaintiff,
                                                                       NOTICE OF MOTION
          -against-

  INDIAN TAJ, INC. d/b/a SANTOOR INDIAN
  RESTAURANT, BALVINDER SINGH,
  HARMINDER SIGNH, JOGINDER SINGH,
  KIRPAL SINGH and MEHANGA SINGH,


                             Defendants.
  ----------------------------------------------------------X

          PLEASE TAKE NOTICE that upon the annexed affidavit of Mehanga Singh, sworn to

  on February 14, 2025, the affirmation of Vincent T. Pallaci dated February 14, 2025, all of the

  exhibits annexed thereto, and upon the memorandum of law submitted herewith, defendant

  Mehanga Singh now moves this Court, before the Hon. Rober M. Levy, U.S.M.J.: (1) to vacate

  the default judgment against him pursuant to FRCP Rule 60(b)(4), FRCP Rules 12(b)(2), 12(b)(4)

  and/or 12(b)(5) because the judgment is void due to improper service and this Court therefore

  never obtained personal jurisdiction over Mr. Singh; and (2) upon vacating the default against Mr.

  Singh dismissing all claims against him pursuant to FRCP Rule 12(b)(6) because the claims against

  Mr. Singh are time barred and/or pursuant to FRCP Rules 12(b)(2), 12(b)(4) and/or 12(b)(5)

  because service was improper and insufficient and this Court therefore lacks personal jurisdiction

  over Mr. Singh; and (3) if the Court does not grant the FRCP Rule 12(b) motion to dismiss then,

  upon vacating the default, permitting the defendant to file an answer and defend the claims against

  him within twenty (20) days of an order vacating the default.




                                                          1
Case 1:20-cv-05855-DG-RML          Document 41       Filed 02/14/25        Page 2 of 2 PageID #: 313




         PLEASE TAKE FURTHER NOTICE that pursuant to the January 15, 2025 order of the

  Hon. Rober M. Levy, opposition papers, if any, are to be served on or before February 28, 2025

  and movant’s reply papers, if any, are due on or before March 7, 2025.



  Dated: Bohemia, New York
         February 14, 2025

                                              Respectfully submitted,

                                              KUSHNICK PALLACI PLLC

                                              __/s/ Vincent T. Pallaci____________
                                              VINCENT T. PALLACI (VP 0801)
                                              Attorneys for Joginder Singh and Mehanga Singh
                                              3920 Veterans Memorial Highway, Suite 7
                                              Bohemia, New York 11716
                                              (631) 752-7100
                                              vtp@kushnicklaw.com




                                                 2
